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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )
                                             )
JACOB CHANSLEY,                              )
                                             )       Cause No.: 1:21-cr-00003
       Defendant                             )
                                             )

                     DEFENDANT’S MOTION FOR LEAVE TO FILE
                          MEMORANDUM UNDER SEAL


       COMES NOW Defendant, by and through his counsel of record, and requests leave of

Court to file under seal a filing memorandum consisting of two exhibits:

       Exhibit A: Letters of Support (with personal identifying information).

       Exhibit B: Letter of Gratitude from the Defendant.

       WHEREFORE, Defendant prays this Honorable Court grant permission to Defendant’s

counsel to file under seal the memorandum.

                                             Respectfully Submitted,

                                             KODNER WATKINS

                                             By:_/s/ Albert S. Watkins
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                                                 St. Louis, MO 63117
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                                CERTIFICATE OF SERVICE

        Signature above is also certification that on November 10, 2021, a true and correct copy
of theforegoing was electronically filed with the Clerk of the Court utilizing the CM/ECF
system which will send notification of such filing to all parties of record.
